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                        Exhibit 2
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                                   4364


                                                                             HUNTON ANDREWS KURTH LLP
                                                                             RIVERFRONT PLAZA, EAST TOWER
                                                                             951 EAST BYRD STREET
                                                                             RICHMOND, VIRGINIA 23219-4074


                                                                             TEL 804 • 788 • 8200
                                                                             FAX 804 • 788 • 8218



                                                                             MAYA M. ECKSTEIN
                                                                             DIRECT DIAL: 804 • 788 • 8788
                                                                             EMAIL: meckstein@HuntonAK.com

   February 2, 2024                                                          FILE: 099997.0007105



   Via E-Mail

   Michael L. Francisco, Esq.
   McGuireWoods LLP
   888 16th St., N.W. Suite 500
   Washington, DC 20006

   Re: Doe v. Mast, No. 3:22-cv-49-NKM

   Michael,

   I am writing to address the privilege log provided by J&S Mast yesterday. The privilege log is
   deficient for multiple reasons.

   Fundamentally, it fails to meet even the most basic requirements of a privilege log. Rule
   26(b)(5)(A)(ii) explicitly requires parties claiming a privilege to “describe the nature of the
   documents, communications, or tangible things not produced or disclosed – and do so in a
   manner that, without revealing information itself privileged or protected, will enable other
   parties to assess the claim.” Yet, the January 31 privilege log fails to include any descriptions
   of the 1,226 documents listed on the 27-page log. Without such descriptions, Plaintiffs cannot
   “assess the claim” of privilege for any of the listed documents.

   Moreover, the log appears to include hundreds of documents for which no claim of privilege
   could be rationalized. Indeed, for many of the log’s entries, no privilege is even asserted on
   the log. Yet, these documents apparently have been withheld from your document production.

   The deficiencies in your log are extensive. Below is a listing of the deficiencies we’ve been
   able to discern thus far, and we reserve the right to raise additional deficiencies as we
   continue to review the log.

   No Privilege Asserted

   There are 145 entries on the log for which no privilege is asserted. And nothing about the
   minimal information provided on the log suggests that they are privileged. Thus, those
   documents should be produced immediately. Please immediately produce those documents.

                 ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON
              LONDON LOS ANGELES MIAMI NEW YORK RICHMOND SAN FRANCISCO TOKYO TYSONS WASHINGTON, DC
                                                 www.HuntonAK.com
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   Inappropriate Assertions of Privilege (Or No Assertions of Privilege) Over
   Communications With Government Employees

   J&S Mast appear to be claiming work product protection on communications with some
   government employees. Additionally, the log lists certain communications with other
   government employees, but with no assertion of a privilege at all. There can be no basis for
   these documents’ inclusion on a privilege log. This concern applies to communications with,
   or documents from:

    Government Employees                                   Privilege Assertion
    Johnston, Carol cjohnston@goochlandva.us               work product asserted

    tiffany.overton@vdh.virginia.gov                       work product asserted

    GOV.BB <immigration.bws@barbados.gov.bb>               work product asserted

    Department of State                                    work product asserted

    USCIS                                                  work product asserted

    Davis, Phillip B LTCOL USMC USSOCOM                    no privilege asserted
    MARSOC (USA) <Phillip.b.davis.mil@socom.mil>

    West, Norman S Col USAF AFDW SG (USA)                  no privilege asserted
    <norman.s.west.mil@mail.mil >

    janet.rainey@vdh.virginia.gov                          no privilege asserted

    fairfield, joseph M col usarmy centcom usfor-a (usa)   no privilege asserted

    DHS/USCIS                                              no privilege asserted

    Mallorca, Kimben M Capt USAF 455 EMDOS/CCE             no privilege asserted

    David E. Faherty, LT USN                               no privilege asserted

    Kathryn Wyer                                           no privilege asserted

   Please immediately produce these documents.
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   Inappropriate Assertions of Privilege (Or No Assertions of Privilege) Over
   Communications With Non-Attorneys

   J&S Mast also appear to be claiming a work product protection over communications with
   non-attorneys where no reference is made to anticipated litigation. Additionally, the log lists
   certain communications with non-attorneys that have no assertion of a privilege at all. There
   can be no basis for these documents’ inclusion on a privilege log. This concern applies to
   communications with:

    Non-Attorneys                                           Privilege Assertion
    Morgan, Nastaran N (LU Shepherd)                        work product asserted

    Chris Cartwright <chris_m_c86@hotmail.com>              work product asserted

    Paul Cartwright <pullcartt@coralwave.com>               work product asserted

    ahmadandnatalie@gmail.com                               work product asserted

    jeff.park@albertainstitute.ca                           work product asserted

    kambiz.potito@gmail.com (also listed as “Ole ole        work product asserted
    Ole ole < kambiz.potito@gmail.com>

    caleb.mast@gmail.com [work product asserted]            work product asserted

    Boggs, Sarah R *HS                                      work product asserted
    <sb7dv@hscmail.mcc.virginia.edu

    Jonathon Brown <jonathan@eastlake-church.com>           work product asserted

    Cynthia Faison                                          work product asserted

    Davis, Phillip B LTCOL USMC USSOCOM                     no privilege asserted
    MARSOC (USA) <Phillip.b.davis.mil@socom.mil>

    HeidiW                                                  no privilege asserted
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    Day Translations <contact@daytranslations.com>          no privilege asserted for
                                                            6 entries; work product
                                                            asserted for 1 entry

   Please immediately produce all such communications. If you refuse to do so, please identify –
   as to each withheld communication – the litigation at issue and the basis for the assertion of
   work product.

   Unsubstantiated Assertions of Work Product

   Almost 100 entries lack information for each of the author/from/to/cc/bcc fields and are
   claimed as work product. Based on their filenames, none appear to qualify for work product
   privilege as they do not appear to be prepared by Joshua and/or Stephanie Mast or their
   lawyers. Those log entries are shown on Exhibit A. Please immediately produce these
   documents. If you refuse to do so, please identify the documents’ authors and the litigation at
   issue.

   Unsubstantiated Assertions of Common Interest Privilege

   Other documents are claimed to be subject to the “common interest” privilege. Yet, many
   appear to either be photographs or a podcast. Moreover, no indication is given regarding any
   of them as to with whom the common interest privilege purportedly exists. For all documents
   claimed to subject to the “common interest” privilege, please identify the person(s) with
   whom the common interest purportedly exists, when those parties entered into a common
   interest agreement, the basis for the assertion of common interest, whether the common
   interest agreement was reduced to writing, and why those that are photographs and a podcast
   are subject to that privilege.

   Unsubstantiated Assertions of Spousal Privilege

   Certain documents are identified as protected by the spousal privilege. Yet, their File Names
   establish that they are documents either already produced in this litigation or the state court
   litigation or not subject to that privilege at all. Those log entries are shown on Exhibit B.
   Please immediately produce these documents.

   Emails Using Liberty University or Department of Defense Email Domains

   Many of the communications on which you assert a privilege were sent or received by
   someone using a Liberty University or Department of Defense email address. The senders or
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   recipients of those emails – whether Joshua Mast or anyone else – did not have a reasonable
   expectation of privacy in such communications and, thus, no privilege applies. This applies to
   the 177 entries on the log that were sent or received by someone using a Liberty University
   email address, and the 21 entries that were sent or received by someone using a Department of
   Defense email address. Please immediately produce those documents.

   Documents Identified as “Privileged-Redact”

   Sixty-one documents are identified as having privileged redactions, suggesting that they were
   produced to Plaintiffs in redacted form. But none of those documents have been produced to
   Plaintiffs – thus, contradicting your recent assertion that J&S Mast have made their “final”
   production. See 1/26/24 Letter from M. Francisco to M. Eckstein. Please immediately produce
   these documents.

   Unidentified individuals/entities

   For 215 entries on the log, you have not provided any information in each of the following
   fields: author, from, to, cc, and bcc. Of those:

      76 aren’t identified as being protected by any privilege

      74 are marked as work product

      19 are marked as both attorney-client privileged and work product

      18 are marked as spousal privilege

      17 are marked as common interest privilege

      11 are marked attorney-client privileged

   As to the 76 that aren’t identified as being protected by any privilege, please immediately
   produce these documents. As to the remaining documents, without any information in the
   noted fields, Plaintiffs cannot properly assess your privilege assertions. Please provide this
   information so that your privilege assertions can be properly assessed.

   For other entries on the log, you populated the author, from, to, cc, and/or bcc fields with only
   an email address, obscure reference, or undecipherable number. Some of the email addresses
   are recognizable to us, but others are not. Please identify the following people/entities:
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      480 entries with the author, from, to, cc, and/or bcc fields identified as “Local Device
       <DB-68f5aa50f8d4675d8d6dac553cd9a993>”

      7 entries with the author, from, to, cc, and/or bcc fields identified as “Day Translations
       contact@daytransaltions.com”

      3 entries with the author, from, to, cc, and/or bcc fields identified as
       “kambiz.potito@gmail.com” or “Ole ole Ole ole < kambiz.potito@gmail.com>”

      2 entries with the author, from, to, cc, and/or bcc fields identified as
       “dmastpgatour@gmail.com”

      1 entry with the author, from, to, cc, and/or bcc fields identified as
       “ahmadandnatalie@gmail.com”

      2 entries with the author, from, to, cc, and/or bcc fields identified as “WHS/ESD/DD”

      2 entries with the author, from, to, cc, and/or bcc fields identified as “Administrator”

      1 entry with the author, from, to, cc, and/or bcc fields identified as “eForms”

      2 entries with the author, from, to, cc, and/or bcc fields identified as “K.Perkins”

      2 entries with the author, from, to, cc, and/or bcc fields identified as “dylang”

      1 entry with the author, from, to, cc, and/or bcc fields identified as “LSoaterna”

      1 entry with the author, from, to, cc, and/or bcc fields identified as “HeidiW”

      2 entries with the author, from, to, cc, and/or bcc fields identified as “Clamo”

      3 entries with the author, from, to, cc, and/or bcc fields identified as “Rglenbert”

   Relatedly, there are 16 entries on the log that all appear related to a Robert L Smith, but with
   different email addresses. Please confirm these communications are all with the same person:

      robert_smithii@email.com;

      Robert L. Smith II <robert smithiieemail.com>
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   Attorney-Client Relationships

   The log asserts an attorney-client privilege between Joshua and/or Stephanie Mast and various
   attorneys. Some we are familiar with. Others we are not. Please state the basis for your
   assertions of attorney-client privilege with:

      nathanaelbennett@gmail.com

      Lindevaldsen, Rena M <rlindevaldsen@liberty.edu>

      Noonan, Taylor <tnoonan2@liberty.edu>

      dmastpgatour@gmail.com

      Bradburn, Holden William <hwbradburn@liberty.edu>

      Jeffrey L. Dorsey

      Clamo

      Rglenberg

      Jay Sekulow <sekulow.jay@gmail.com>

      Don Whitenack

      Rob DeRise

   Emails to Kimberley Motley

   At least two emails appear to have been sent to Kimberley Motley in 2020 and 2021 and are
   marked as attorney-client privileged. But both your clients and Ms. Motley previously denied,
   under oath, ever having an attorney-client relationship. Please immediately produce these
   emails.

   Documents Withheld On the Basis of Touhy

   In previous correspondence, you advised that you are withholding certain documents while
   awaiting Touhy approval. As you are aware, under the Touhy regulations for the Department
   of Defense (32 CFR § 97, et seq.), Joshua Mast was required to immediately notify his DoD
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   Component’s chief legal advisor when he received our requests for production more than one
   year ago. See 32 CFR § 97.3 (defining “personnel” and “litigation requests”), § 97.9(b)
   (instructions for DoD personnel who receive litigation requests) (emphasis added).

   Accordingly, please immediately produce the documents or communications showing that
   Mr. Mast notified his chief legal advisor (or any other appropriate authority under DoD
   regulations) of our litigation requests, served more than one year ago. Please also provide a
   log that identifies every responsive document that you are withholding on the basis that you
   are awaiting Touhy approval and describe how each document in question contains “official
   government information” as defined at 32 CFR § 97.3 (“all information of any kind and
   however stored that is in the custody and control of the DoD, relates to information in the
   custody and control of the DoD, or was acquired by DoD personnel due to their official duties
   or status”).

   We look forward to hearing from you and having these numerous, significant issues addressed
   expeditiously.

   Sincerely,




   Maya M. Eckstein

   cc:    counsel of record
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    Exh. A – Unsubstantiated Assertions of Work Product (Entries With No
    Author/From/To/Cc/Bcc, and With File Names Suggesting No Work Product)


     Production Bates Begin      Production Bates End
     J&SMAST-WDVA-00075          J&SMAST-WDVA-00075
     J&SMAST-WDVA-00099          J&SMAST-WDVA-00113
     J&SMAST-WDVA-00117          J&SMAST-WDVA-00117
     J&SMAST-WDVA-00122          J&SMAST-WDVA-00122
     J&SMAST-WDVA-00135          J&SMAST-WDVA-00136
     J&SMAST-WDVA-00137          J&SMAST-WDVA-00137
     J&SMAST-WDVA-00141          J&SMAST-WDVA-00141
     J&SMAST-WDVA-00145          J&SMAST-WDVA-00146
     J&SMAST-WDVA-00147          J&SMAST-WDVA-00147
     J&SMAST-WDVA-00152          J&SMAST-WDVA-00152
     J&SMAST-WDVA-00189          J&SMAST-WDVA-00192
     J&SMAST-WDVA-00314          J&SMAST-WDVA-00318
     J&SMAST-WDVA-00335          J&SMAST-WDVA-00339
     J&SMAST-WDVA-00356          J&SMAST-WDVA-00360
     J&SMAST-WDVA-00362          J&SMAST-WDVA-00362
     J&SMAST-WDVA-00390          J&SMAST-WDVA-00394
     J&SMAST-WDVA-00407          J&SMAST-WDVA-00410
     J&SMAST-WDVA-00427          J&SMAST-WDVA-00431
     J&SMAST-WDVA-00439          J&SMAST-WDVA-00439
     J&SMAST-WDVA-00440          J&SMAST-WDVA-00440
     J&SMAST-WDVA-00442          J&SMAST-WDVA-00442
     J&SMAST-WDVA-00443          J&SMAST-WDVA-00443
     J&SMAST-WDVA-00444          J&SMAST-WDVA-00444
     J&SMAST-WDVA-00452          J&SMAST-WDVA-00452
     J&SMAST-WDVA-00453          J&SMAST-WDVA-00453
     J&SMAST-WDVA-00454          J&SMAST-WDVA-00454
     J&SMAST-WDVA-00455          J&SMAST-WDVA-00455
     J&SMAST-WDVA-00471          J&SMAST-WDVA-00475
     J&SMAST-WDVA-00479          J&SMAST-WDVA-00489
     J&SMAST-WDVA-00490          J&SMAST-WDVA-00494
     J&SMAST-WDVA-00497          J&SMAST-WDVA-00498
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     J&SMAST-WDVA-00499          J&SMAST-WDVA-00499
     J&SMAST-WDVA-00500          J&SMAST-WDVA-00500
     J&SMAST-WDVA-00512          J&SMAST-WDVA-00512
     J&SMAST-WDVA-00513          J&SMAST-WDVA-00513
     J&SMAST-WDVA-00514          J&SMAST-WDVA-00515
     J&SMAST-WDVA-00516          J&SMAST-WDVA-00521
     J&SMAST-WDVA-00522          J&SMAST-WDVA-00527
     J&SMAST-WDVA-00528          J&SMAST-WDVA-00528
     J&SMAST-WDVA-00529          J&SMAST-WDVA-00529
     J&SMAST-WDVA-00530          J&SMAST-WDVA-00531
     J&SMAST-WDVA-00539          J&SMAST-WDVA-00543
     J&SMAST-WDVA-00561          J&SMAST-WDVA-00565
     J&SMAST-WDVA-00566          J&SMAST-WDVA-00580
     J&SMAST-WDVA-00598          J&SMAST-WDVA-00598
     J&SMAST-WDVA-00605          J&SMAST-WDVA-00609
     J&SMAST-WDVA-00610          J&SMAST-WDVA-00610
     J&SMAST-WDVA-00627          J&SMAST-WDVA-00630
     J&SMAST-WDVA-00633          J&SMAST-WDVA-00635
     J&SMAST-WDVA-00637          J&SMAST-WDVA-00637
     J&SMAST-WDVA-00638          J&SMAST-WDVA-00640
     J&SMAST-WDVA-00641          J&SMAST-WDVA-00643
     J&SMAST-WDVA-00644          J&SMAST-WDVA-00655
     J&SMAST-WDVA-00656          J&SMAST-WDVA-00661
     J&SMAST-WDVA-00662          J&SMAST-WDVA-00667
     J&SMAST-WDVA-00668          J&SMAST-WDVA-00671
     J&SMAST-WDVA-00672          J&SMAST-WDVA-00677
     J&SMAST-WDVA-00678          J&SMAST-WDVA-00679
     J&SMAST-WDVA-00680          J&SMAST-WDVA-00680
     J&SMAST-WDVA-00681          J&SMAST-WDVA-00687
     J&SMAST-WDVA-00741          J&SMAST-WDVA-00746
     J&SMAST-WDVA-00766          J&SMAST-WDVA-00768
     J&SMAST-WDVA-00769          J&SMAST-WDVA-00771
     J&SMAST-WDVA-00772          J&SMAST-WDVA-00798
     J&SMAST-WDVA-01233          J&SMAST-WDVA-01236
     J&SMAST-WDVA-01663          J&SMAST-WDVA-01663
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     J&SMAST-WDVA-01839          J&SMAST-WDVA-01857
     J&SMAST-WDVA-01859          J&SMAST-WDVA-01875
     J&SMAST-WDVA-01878          J&SMAST-WDVA-01896
     J&SMAST-WDVA-01900          J&SMAST-WDVA-01917
     J&SMAST-WDVA-02021          J&SMAST-WDVA-02042
     J&SMAST-WDVA-02044          J&SMAST-WDVA-02064
     J&SMAST-WDVA-02066          J&SMAST-WDVA-02088
     J&SMAST-WDVA-02169          J&SMAST-WDVA-02191
     J&SMAST-WDVA-02194          J&SMAST-WDVA-02218
     J&SMAST-WDVA-02219          J&SMAST-WDVA-02241
     J&SMAST-WDVA-02244          J&SMAST-WDVA-02268
     J&SMAST-WDVA-02271          J&SMAST-WDVA-02293
     J&SMAST-WDVA-02542          J&SMAST-WDVA-02548
     J&SMAST-WDVA-04654          J&SMAST-WDVA-04675
     J&SMAST-WDVA-04698          J&SMAST-WDVA-04742
     J&SMAST-WDVA-05227          J&SMAST-WDVA-05227
     J&SMAST-WDVA-05229          J&SMAST-WDVA-05229
     J&SMAST-WDVA-05246          J&SMAST-WDVA-05246
     J&SMAST-WDVA-05254          J&SMAST-WDVA-05254
     J&SMAST-WDVA-05260          J&SMAST-WDVA-05260
     J&SMAST-WDVA-05264          J&SMAST-WDVA-05264
     J&SMAST-WDVA-05265          J&SMAST-WDVA-05265
     J&SMAST-WDVA-05275          J&SMAST-WDVA-05304
     J&SMAST-WDVA-05306          J&SMAST-WDVA-05306
     J&SMAST-WDVA-05314          J&SMAST-WDVA-05314
     J&SMAST-WDVA-05315          J&SMAST-WDVA-05315
     J&SMAST-WDVA-05443          J&SMAST-WDVA-05443
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    Exh. B – Unsubstantiated Assertions of Spousal Privilege

     Production Bates Begin          Production Bates End
     J&SMAST-WDVA-01380              J&SMAST-WDVA-01380
     J&SMAST-WDVA-01386              J&SMAST-WDVA-01408
     J&SMAST-WDVA-01410              J&SMAST-WDVA-01432
     J&SMAST-WDVA-01498              J&SMAST-WDVA-01507
     J&SMAST-WDVA-01513              J&SMAST-WDVA-01513
     J&SMAST-WDVA-01729              J&SMAST-WDVA-01729
     J&SMAST-WDVA-01740              J&SMAST-WDVA-01741
     J&SMAST-WDVA-01742              J&SMAST-WDVA-01744
     J&SMAST-WDVA-01745              J&SMAST-WDVA-01752
     J&SMAST-WDVA-01757              J&SMAST-WDVA-01759
     J&SMAST-WDVA-01760              J&SMAST-WDVA-01760
     J&SMAST-WDVA-02044              J&SMAST-WDVA-02064
     J&SMAST-WDVA-02332              J&SMAST-WDVA-02333
     J&SMAST-WDVA-02334              J&SMAST-WDVA-02339
     J&SMAST-WDVA-02340              J&SMAST-WDVA-02362
     J&SMAST-WDVA-02363              J&SMAST-WDVA-02373
     J&SMAST-WDVA-02374              J&SMAST-WDVA-02400
     J&SMAST-WDVA-02949              J&SMAST-WDVA-02958
     J&SMAST-WDVA-02960              J&SMAST-WDVA-02974




    099997.0007105 DMS 305597034v1
